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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :
                                               :       CASE NO. 23-cr-426 JEB
               v.                              :
                                               :
PHILLIP CRAWFORD,                              :
                                               :
                       Defendant.              :

                        RESPONSE TO DEFENDANT’S MOTION TO
                         EXCLUDE IMPEACHMENT EVIDENCE

       The United States of America, by and through the United States Attorney for the District

of Columbia, does not anticipate presenting Mr. Crawford’s prior convictions as impeachment

evidence should Mr. Crawford choose to testify. Further, the government acknowledges that Fed.

R. Evid. 609(b)(2) requires written notice of the intent to use prior to its admissibility. Finally, the

government does not intend to introduce extrinsic evidence of the referenced prior arrests to

impeach Mr. Crawford.

                                       Respectfully Submitted,

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